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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                    CRIMINAL DOCKET

VERSUS                                                      NO.     19-113

MARTHA BUEZO MARTINEZ                                       SEC. “E”


                                            ORDER




      It is hereby adjudged and ordered that the sentencing date in this matter is reset for

_____________ day of _______________ 2021 at 2:00 p.m.



      NEW ORLEANS, LOUISIANA this ___________ day of ___________, 2021.




                                     __________________________________________
                                     HONORABLE SUSIE MORGAN
                                     UNITED STATES DISTRICT JUDGE
